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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

ELI LILLY AND COMPANY, et al.,

       Plaintiffs,

v.

ROBERT F. KENNEDY JR., et al.,                  Case No. 1:24-cv-3220 (DLF)

       Defendants.

BRISTOL MYERS SQUIBB COMPANY,

       Plaintiff,

v.

ROBERT F. KENNEDY JR., et al,                   Case No. 1:24-cv-3337 (DLF)

       Defendants.

NOVARTIS PHARMACEUTICALS
CORPORATION,

       Plaintiff,

v.
                                                Case No. 25-cv-0117 (DLF)
ROBERT F. KENNEDY JR., et al,

       Defendants.

SANOFI-AVENTIS U.S. LLC
                          Plaintiff,
                     v.                         Case No. 1:24-cv-3496 (DLF)

ROBERT F. KENNEDY JR., et al.,
                          Defendants.


  INTERVENOR DEFENDANTS 340B HEALTH, UMASS MEMORIAL MEDICAL
             CENTER, AND GENESIS HEALTHCARE SYSTEM’S
 BRIEF IN SUPPORT OF CROSS MOTION FOR SUMMARY JUDGMENT AND IN
    OPPOSITION TO PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT
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                                       INTRODUCTION

       This case presents a narrow question of statutory interpretation. Despite Manufacturer-

Plaintiffs’, Eli Lilly and Company and Lilly USA, LLC (Lilly), Bristol Myers Squibb Company

(BMS), Sanofi-Aventis U.S. LLC (Sanofi), and Novartis Pharmaceuticals Corp. (Novartis)

(together, Plaintiffs), best efforts to distract the Court with irrelevant and unfounded allegations

about the 340B Drug Discount Program (340B Program), this case boils down to reading and

giving meaning to the full text of the statute that established the 340B Program, 42 U.S.C. § 256b.

In line with the 340B Program’s venerable goals, Congress required, as set forth in the statute’s

text, that drug manufacturers provide up-front reductions in the price of covered drugs at the time

those drugs are sold to certain public and not-for-profit hospitals, community health centers, and

other federally funded clinics that provide care to communities with a large number of low-income

and other vulnerable patients (340B Providers, described in the statute as “covered entities”). That

command resolves this case.

       Under the 340B Program, drug manufacturers, including Plaintiffs, must provide up-front

discounts on certain covered drugs to 340B Providers. 340B Providers use the cost savings from

these discounts to provide, among other benefits, community programs to support low-income and

vulnerable populations, exactly as Congress intended when it created the program.

       Plaintiffs disagree with how the 340B Program works and make unsubstantiated claims

about non-compliance. But rather than take those complaints up with Congress or use the

compliance and audit mechanisms available to them under the 340B statute, Plaintiffs seek to

rewrite the statutory language. Based on their flawed interpretations, Plaintiffs wish to impose

rebate models that are fundamentally at odds with the 340B statute and the way the 340B Program

has functioned since its inception in 1992. These rebate models would require hospitals eligible to

participate in 340B (340B Hospitals) and, under some models, other 340B providers, to purchase


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certain, or in some cases, all 340B-eligible drugs at their (often shockingly high) full price, collect

and submit patient data, and then wait to receive a rebate.1 Any such process removes a critical

component of the 340B Program: 340B Hospitals’ access to up-front 340B discounts.

       Delaying access to up-front discounts means that 340B Hospitals would have to spend

significantly more to maintain their drug inventory and effectively float Plaintiffs, whose annual

profits are as high as 34.3 billion dollars,2 the difference between the full price of the 340B drug

and the 340B discount price. This would reduce the funds that 340B Providers have available to

serve their low-income, rural, and underserved patients, an outcome that undermines the very goals

of the 340B Program. Rebate models would also give Plaintiffs nearly unchecked discretion over

which prescriptions will receive the 340B rebate, and there is no mechanism that guarantees the

rebate will be issued. As just one example, and as further discussed infra, Sanofi is attempting to

re-write the requirements for a drug’s eligibility for the 340B discount price through the terms of

its proposed rebate model.3 That discretion creates a completely new statutory regime whereby

drug manufacturers, which have every incentive to limit the 340B Program, determine the

implementation and compliance rules of the 340B Program. The 340B statute plainly bars this

scheme.




1
 Eli Lilly’s rebate model would apply to all 340B Providers and to all the company’s 340B
drugs. Letter from Derek L. Asay, Senior VP, Government Strategy, Lilly USA, to Chantelle V.
Britton, Director, Office of Pharmacy Affairs, HRSA et al. (Sept. 9, 2024), Eli Lilly v. Kennedy,
No. 24-cv-3220 (D.D.C Nov. 14, 2024), Dkt. No. 1-4. Other rebate models would apply, at least
initially, to specific categories of 340B Providers and to some or all the manufacturers’ 340B
drugs.
2
    For example, BMS’s net income in fiscal year 2024 was approximately $34.3 billion. Bristol
Myers      Squibb    Reports  Fourth     Quarter    and    Full-Year   Financial     Results,
https://tinyurl.com/yc7jn27v.
3
   Sanofi Notice to Covered Entities (Nov. 22, 2024) at 4-5, Sanofi v. Kennedy, No. 24-cv-3496
(D.D.C. Dec. 16, 2024), Dkt. No. 1-6.


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       The relevant statutory text, 42 U.S.C. § 256b(a)(1), contains only two sentences. Plaintiffs

reach their conclusion that the statute permits them to impose rebate models by misunderstanding

the first sentence and by failing to give meaning to the second sentence, which Congress added in

2010. Read together and in the context of the entire statute as required by proper statutory

interpretation principles, the two sentences in 42 U.S.C. § 256b(a)(1) make clear that up-front price

reductions are required. At bottom, Plaintiffs urge an improper interpretation of the statute because

they do not like—and have never liked—the 340B Program, which reduces Plaintiffs’ substantial

profits by reducing the cost of essential drugs paid for by 340B Providers.

       Plaintiffs’ Complaints are just the latest of drug manufacturers’ attempts to undermine the

340B Program. But Congress made the exact policy choices that Plaintiffs criticize throughout

their briefing through the text and structure of the 340B statute. This Court should reject Plaintiffs’

blatant attempts to subvert the will of Congress and to substitute their own vision in place of a

system that meets the goals of the 340B Program.

                                         BACKGROUND

I.     STATUTORY BACKGROUND

       Congress enacted the 340B Program in 1992 to cap the amount that 340B Providers must

pay for drugs that are prescribed to their patients. Astra USA, Inc. v. Santa Clara County, 563 U.S.

110, 113 (2011). The statute was intended to curb the significant drug price increases that followed

the Omnibus Budget Reconciliation Act of 1990, which required manufacturers to offer rebates

for Medicaid drugs that would match their lowest prices, or “best prices,” offered to other

purchasers. The House Committee on Veterans’ Affairs found that manufacturers had significantly

increased their prices to reduce the financial impact of the new Medicaid rebates on their profits.

H.R. Rep. No. 102-384(I) (1991), 1991 WL 255976. The 340B statute was passed to require

manufacturers to pass on the value of the new Medicaid rebates to safety net hospitals, community


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clinics, and other public health providers. 137 Cong. Rec. E3,138-02 (daily ed. Sept. 24, (1991))

(statement of Rep. Wyden), 137 Cong Rec E 3,138-02, at *E3,138-02 (Westlaw). Congress’s intent

was to “reduce the costs of operations” for 340B Providers and allow them to “stretch scarce

Federal funding as far as possible” so that they could reach more eligible patients. H.R. Rep. No.

102-384(II), at 12 (1992), 1992 WL 239341.

          Under the 340B Program, drug manufacturers enter into agreements with the Secretary of

Health and Human Services (HHS) known as Pharmaceutical Pricing Agreements (PPAs). 42

U.S.C. § 256b(a)(1). PPAs reiterate the statutory formula through which the prices for covered

drugs are calculated: the average manufacturer price (AMP) as understood under the Social

Security Act less a rebate percentage, which is determined through a formula set out in the 340B

Statute using calculations made in the prior quarter under the Medicaid Drug Rebate Program

(MDRP). Id. § 256b(a)(1), (a)(2)(A).4 Since the inception of the 340B Program more than 30 years

ago, drug manufacturers have met their price reduction obligations under the 340B statute and

PPAs through up-front price reductions in the cost of covered drugs. Notice Regarding Section

602 of the Veterans Health Care Act of 1992 Rebate Option, 62 Fed. Reg. 45823, 45824 (Aug. 29,

1997).5


4
    The minimum amount of the discount is the greater of: (a) the “minimum [statutory] rebate
percentage,” currently either 23.1, 17.1 or 13 percent depending on the type of drug; or (b) the
difference between AMP and “the lowest price” the drug company has charged during the “rebate
period to any wholesaler, retailer, provider, health maintenance organization, nonprofit entity, or
governmental entity,” whichever is greater. The discount is further increased when AMP increases
faster than the consumer price index for all urban consumers. 42 U.S.C. § 1396r-8(c)(1), (2).
5
    HRSA recognized one exception to up-front price reductions under 340B. State AIDS Drug
Assistance Programs (ADAPs) are permitted to participate in the 340B Program through rebates,
rather than discounts, because they reimburse pharmacies for drugs and do not always purchase
covered drugs directly. Because the ADAP drug purchasing mechanism prevented most ADAPs
from accessing the benefits of 340B, in 1998 HRSA authorized ADAPs to utilize rebates as “an
optional alternate means of accessing section 340B discount pricing” and made clear that it was
doing so to meet “the unique needs” of ADAPs and was not authorizing a rebate option beyond


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       Beyond the most basic purpose of capping the cost of drugs for 340B Providers, the 340B

statute lays out a comprehensive scheme through which drug manufacturers and 340B Providers

participate in the 340B Program under the supervision of the Health Resources and Services

Administration (HRSA) in HHS. For example, the 340B statute allows manufacturers and HRSA

to audit 340B Providers to ensure compliance with the prohibition on diversion (selling a 340B

drug to an ineligible patient). The Secretary has also implemented a policy to prevent Medicaid

duplicate discounts (wherein after selling a drug at the 340B discount, the manufacturer

subsequently provides a Medicaid rebate on that same drug in response to a request from a State

Medicaid agency) which requires 340B Providers to report their Medicaid billing numbers to

HRSA if they use 340B for Medicaid patients. 42 U.S.C. §256b(a)(5)(A)–(C), Notice Regarding

the Section 340B Drug Pricing Program – Program Guidance Clarification, 65 Fed. Reg. 13983

(March 15, 2000); see also, Novartis Pharms. Corp. v. Johnson, 102 F.4th 452, 456 (D.C. Cir.

2024). Should a manufacturer or HRSA discover through an audit that a 340B Provider has

violated these provisions, various sanctions may be imposed by the Secretary. 42 U.S.C. §

256b(a)(5)(D); see also Sanofi Aventis U.S. LLC v. United States Dep’t of Health & Hum. Servs.,

58 F.4th 696, 700 (3d Cir. 2023). The statute channels certain disputes that arise between

manufacturers and 340B Providers into an Administrative Dispute Resolution (ADR) process. 42

U.S.C. § 256b(d)(3). Through ADR, 340B Providers may bring complaints that they were

overcharged for covered drugs and manufacturers (after conducting an audit) may bring




ADAPs. Final Notice Regarding Section 602 of the Veterans Health Care Act of 1992—Rebate
Option, 63 Fed. Reg. 35,239, 35,242 (June 29, 1998). In allowing ADAPs to access 340B pricing
through rebates, HRSA cautioned manufacturers that they may not “condition a rebate contract or
agreement upon . . . entities’ compliance with the provisions of section 340B.” Id. at 35,239.


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complaints that 340B Providers are violating the prohibition on diversion and/or duplicate

discounts. Id.

          Recognizing the value it provides, Congress expanded the 340B Program as part of the

2010 Affordable Care Act (ACA) to include additional 340B Providers. Public Law 111-1148,

124 Stat. 119 (a). In addition to expanding the types of 340B Providers that could access the 340B

discount, the ACA added a provision that the PPAs “shall require that the manufacturer offer each

covered entity covered outpatient drugs for purchase at or below the applicable ceiling price if

such drug is made available to any other purchaser at any price.” 42 U.S.C. § 256b(a)(1).

II.       THE 340B PROGRAM DELIVERS BENEFITS TO LOW-INCOME PATIENTS
          AND COMMUNITIES.

          340B Providers, including 340B Hospitals such as Intervenor Defendants UMass

Memorial Medical Center (UMass) and Genesis HealthCare System (Genesis), play a critical role

in creating a safety net for low-income and other vulnerable patients. Hospitals participate in 340B

only if they can demonstrate that they serve a disproportionate number of low-income patients or

that they are designated by Medicare as “critical access” hospitals (CAH). In 2020, the low-income

share for 340B Hospitals was 40.6% compared to 26.2% for non-340B hospitals.6 As a result,

340B Hospitals treat a high percentage of patients for which they are underpaid or not paid at all,

consequently providing three-quarters (77%) of all hospital care for Medicaid patients, a program

known for low reimbursement that does not typically cover the cost of care, and two-thirds (67%)

of hospital uncompensated and unreimbursed care.7 Not surprisingly, 340B Providers have




6
    Allen Dobson et al., 340B DSH Hospitals Serve Higher Share of Patients with Low Incomes,
Dobson       DaVanzo      Health  Economics      Consulting    21     (Sept.    26,   2022),
https://tinyurl.com/4vxkvxrm.
7
      Id. at 7.


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substantially lower operating margins—often negative margins—compared to non-340B

providers.8

           The discounts provided under the 340B program allow 340B Hospitals to provide care to

low-income and vulnerable patients. As found by the U.S. General Accountability Office (GAO),

“the up-front savings [340B Providers] realized on the cost of drugs, allowed [340B Providers] to

support their missions by maintaining services and lowering medication costs for patients, which

is consistent with the purpose of the program.”9 Moreover, the GAO found that 340B Providers

“used the 340B revenue generated by certain patients to offset losses incurred from other patients,

which helped support the financial stability of the organization and allowed them to maintain

services.”10 As a result, 340B Providers “serve more patients and . . . provide services that they

might not have otherwise provided.”11

           As a result of the financial support from the 340B Program, 340B Hospitals have increased

the amount of net patient revenue spent on uncompensated and unreimbursed care when compared

to non-340B hospitals, with the gap widening from 17.5% higher for 340B Hospitals in 2019, to

29.1% higher in 2022.12 Similarly, in 2020 alone, 340B Hospitals provided nearly $85 billion in




8
    Steven Heath et al., 340B DSH Hospitals Increased Uncompensated Care in 2020 Despite
Significant Financial Stress, (Dobson DaVanzo Health Economics Consulting (2022)),
https://shorturl.at/0Vpm6; 340B Drug Pricing Program: Fact vs. Fiction, Am. Hosp. Ass’n 3 (Mar.
2021), https://shorturl.at/YpmW8.
9
    Report to Congressional Committees, GAO-11-836, Manufacturer Discounts in the 340B
Program Offer Benefits, but Federal Oversight Needs Improvement, GAO 17–18 (Sept. 2011),
https://www.gao.gov/assets/gao-11-836.pdf (2011 GAO Report).
10
     Id. at 17.
11
     Id.
12
    KNG Health Consulting, 340B Hospitals Increased Contributions to Uncompensated and
Unreimbursed Care During the Pandemic (February 2025), 340B Health,
https://tinyurl.com/29dfbbky.


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community benefits, an increase of nearly 25% from 2019.13 Compared to their non-340B

counterparts, 340B Hospitals offer significantly more un- or under-reimbursed essential

community services, including those that address broader health, wellness, and social needs.14

340B Hospitals further account for 80% of hospitals offering burn care and transplants of lung,

liver, and bone marrow, all of which are relatively unprofitable services.15

         The 340B Program funds the provision of care to low-income and underserved

communities by allowing 340B Providers to purchase necessary drugs at discounted prices but still

receive the full reimbursement for those drugs from insurers. See Sanofi, 58 F.4th at 699; Novartis,

102 F.4th at 455. The 340B Program works by empowering 340B Providers—those best suited to

understanding the patients that they serve and the communities in which they operate—to use the

savings and funds generated by purchasing drugs at the 340B discount to serve their patients and

communities. The 340B Program does not require that 340B funds be used to provide drug

discounts to patients, although 340B Providers sometimes do so if they determine that such is the

best use of the 340B savings for their patients and communities.

         Like other 340B Providers, UMass uses the cost savings and funds generated by the 340B

Program to serve the vulnerable communities in which it operates. Among other care, UMass

currently uses 340B savings to fund free care to low-income patients and to provide several

community services, including a program that provides free prescription medications to uninsured


13
    Setting the Record Straight on 340B: Fact vs. Fiction, Am. Hosp. Ass’n, 2 (Jan. 2025),
https://shorturl.at/dhlTx; Steven Heath et al., 340B DSH Hospitals Increased Uncompensated Care
in 2020 Despite Significant Financial Stress, Dobson DaVanzo Health Economics Consulting
(2022), https://tinyurl.com/2skct63s.
14
    Allen Dobson et al., 340B DSH Hospitals Serve Higher Share of Patients with Low Incomes
(Dobson DaVanzo Health Economics Consulting (Sept. 26, 2022)), https://tinyurl.com/4vxkvxrm
at 14.
15
     Id. at 15.


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patients, a program that provides free health and dental care to underserved populations, and its

Road to Care Mobile Addiction Team, which provides health services to individuals with

behavioral health and substance use disorders at sites frequented by the homeless. Desai Decl. to

Mot. to Intervene (“Desai Decl.”) ¶¶ 8–14 (Dkt. No. 18-4).16 In 2023, UMass’s Road to Care

Mobile Addiction Team had 3,699 clinical encounters and served nearly 869 patients, a 76%

increase over the previous year, reflecting the increase in demand for the program. Id. ¶ 12. UMass

also provides medical services at the Hector Reyes House, a residential substance abuse treatment

program for Latino men. Id. ¶ 10. Through these services and others, in fiscal year 2023 alone,

UMass served over 14,631 individuals and provided 669 prescriptions at no cost to qualifying

patients. Id. ¶ 7.

        Similarly, Genesis relies on 340B savings to fund several community health programs,

including its 340B Patient Assistance Program, which provides medications at a discount to

eligible patients in underserved communities, allowing them to access essential drugs at a lower

cost. Carr Decl. to Mot. to Intervene (“Carr Decl”) ¶ 8 (Dkt. No. 18-2). Genesis also uses 340B

savings to fund its Meds to Bed Program, which ensures that patients have access to necessary

medications once they are discharged from the hospital. Id. ¶ 9. Genesis additionally offers a

shuttle service free of charge to discharged patients who need a ride home from the hospital and

have no other means of transportation. Id. ¶ 10. This service provided transportation to 1,200

patients in the past two years. Id.




16
   As this consolidated brief is being filed in four separate cases, for convenience the Intervenor
Defendants will cite to the docket numbers from the earliest filed case, Eli Lilly and Company v.
Kennedy, 24-cv-3220, in this brief.


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III.      THE PRODUCT REPLENISHMENT MODEL

          For decades, most 340B Hospitals have used virtual inventory (replenishment) models to

manage their different drug inventories for 340B and non-340B drugs. Testoni Decl. ¶ 3. It is

important to understand how virtual inventory works in order to understand why, contrary to their

claims, Plaintiffs’ rebate models are not at all similar to product replenishment. 340B drugs can

only be used for eligible outpatients and may not be used for hospital inpatients.17 Virtual inventory

systems used by 340B Hospitals act as a program integrity safeguard to ensure that drugs

purchased at 340B prices are used only for eligible hospital outpatients. Testoni Decl. ¶¶ 3-4. The

initial purchase of a particular drug is made at the drug’s list price, since at that point the drug has

not yet been dispensed to a patient. Id. ¶ 6. The virtual inventory system then tracks drug dispenses,

recording those that are made to 340B patients. Id. Once an entire package of a drug has been

dispensed to 340B patients, the hospital repurchases that drug at the 340B price to replenish its

stock and will forever replenish its stock by purchasing the drug at the 340B price. Id. Thus, unlike

Plaintiffs’ proposed rebate models, which require 340B Hospitals to continuously purchase 340B

drugs at market price and then wait for a rebate to be issued, the virtual inventory system only has

the 340B Hospital paying market price for a drug one time. Id. ¶ 9. Plaintiffs’ rebate models would

delay 340B Hospitals’ access to the 340B price for every purchase and significantly increase their

drug inventory costs.

          The process is somewhat different for drugs dispensed to 340B Hospital patients through

a contract pharmacy. In that situation, the pharmacy dispenses drugs from its regular inventory,

which has been purchased at market price. Id. ¶ 7. Then, a third-party administrator or the

pharmacy itself identifies the patients who received those drugs that are eligible for 340B


17
       See FAQs, HRSA, https://www.hrsa.gov/opa/faqs (last visited Mar. 18, 2025).


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discounts. Id. Once identified, the 340B Hospital purchases the drug at the 340B discounted price

and the manufacturer (or its wholesaler) ships the drug to the pharmacy that dispensed the drug,

replenishing the pharmacy’s stock for the drug it dispensed to the 340B patient.18 Id. The pharmacy

then passes on to the 340B Hospital (which had purchased the drug at the 340B price) the payment

it received when it dispensed the drug at the non-discounted price, less an agreed upon dispensing

fee. Id. For drugs dispensed by a contract pharmacy, the 340B Hospital never purchases drugs at

the market price. Id. ¶ 10. Instead, it purchases drugs at the 340B price and uses those drugs to

replenish the contract pharmacy’s inventory of drugs dispensed to the 340B Hospital’s patients.

Id. The contract pharmacy is the only purchaser which pays the up-front market price; no rebate is

involved. Id. Despite Plaintiffs’ claims to the contrary, the replenishment model is in no way

similar to the proposed rebate models.

IV.    PLAINTIFFS’ REBATE PROPOSALS

       In the fall of 2024, Plaintiffs informed HRSA and HHS that they intended to implement

rebate models, replacing the up-front discounts on covered drugs they (and every other drug

manufacturer) have provided since the inception of the 340B Program.19 In response to Lilly,



18
    Both the United States Supreme Court and the Federal Trade Commission have endorsed
accounting systems similar to the product replenishment model as appropriate ways for entities to
distinguish between drugs that qualify for discounts and those that do not so as to prevent
diversion. See Abbott Laboratories v. Portland Retail Druggists Ass’n, 425 U.S. 1, 20 (1976);
Federal Trade Commission, University of Michigan Advisory Opinion, at 1 (Apr. 9, 2010)
https://tinyurl.com/bddasrpa.
19
    See e.g., Letter from Derek L. Asay, Senior VP, Government Strategy, Lilly USA, to Chantelle
V. Britton, Director, Office of Pharmacy Affairs, HRSA et al. (Sept. 9, 2024), Eli Lilly v. Kennedy,
No. 24-cv-3220 (DLF) (D.D.C. Nov. 14, 2024), Dkt. No. 1-4; Letter from Brett A. Shumate,
Counsel for Sanofi-Aventis U.S., LLC to Chantelle V. Britton, Director, Office of Pharmacy
Affairs, HRSA (Nov. 1, 2024), Sanofi v. Kennedy, No. 24-cv-3496 (DLF) (D.D.C. Dec. 16, 2024),
Dkt. No. 1-2; Novartis Complaint ¶ 75, Novartis v. Kennedy, No. 25-cv-117 (DLF) (D.D.C. Jan.
15, 2025), Dkt. No. 1; BMS Complaint ¶ 63, No. 24-cv-3337 (DLF) (D.D.C. Nov. 26, 2024), Dkt.
No. 1.


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Novartis, BMS, and Sanofi’s requests to impose rebate models, HRSA raised several concerns

about the proposed rebate models, requested more information, and informed Plaintiffs that

because the Secretary of HHS had not approved the rebate models, implementation of the models

would be inconsistent with statutory requirements.20 In those letters, HRSA noted that the rebate

models represent a “shift” that “would disrupt how the 340B Program has operated for over thirty

years. As a result of this shift, covered entities, including those which primarily serve rural and

underserved populations, would need to pay significantly higher prices on prescription drugs at

the time of purchase.”21 HRSA also had questions about how the rebate claims submitted by 340B

Providers would be adjudicated, how long any such adjudication would take, and what appeals or

reconsideration mechanisms would be in place.22



20
    E.g., Letter from Chantelle V. Britton, Director, Office of Pharmacy Affairs, HRSA, to Lucas
Montarce, Executive Vice President and Chief Financial Officer, Eli Lilly and Company (Sept. 18,
2024), Eli Lilly v. Kennedy, No. 24-cv-3220 (DLF) (D.D.C. Nov. 14, 2024), Dkt. No. 1-5; Letter
from Chantelle V. Britton, Director, Office of Pharmacy Affairs to Paul Hudson, Chief Executive
Officer, Sanofi-Aventis U.S. LLC (Dec. 13, 2024), Sanofi v. Kennedy, No. 24-cv-3496 (DLF)
(D.D.C. Dec. 16, 2024), Dkt. No. 1-7; Letter from Chantelle V. Britton, Director, Office of
Pharmacy Affairs, HRSA to Linda Kamin, Executive Director, Contract Operations and
Government Reporting, Bristol Myers Squibb (Nov. 4,2024), Bristol Myers Squibb v. Kennedy,
No. 24-cv-3337 (DLF) (D.D.C. Nov. 26, 2024), Dkt. No. 1-1; Novartis Complaint ¶¶ 26, 27,
Novartis v. Kennedy, No. 25-v-117 (DLF) (D.D.C. Jan. 15, 2025), Dkt. No. 1.
21
   E.g., Letter from Chantelle V. Britton, Director, Office of Pharmacy Affairs, HRSA, to Lucas
Montarce, Executive Vice President and Chief Financial Officer, Eli Lilly and Company (Sept. 18,
2024) at 1; Letter from Chantelle V. Britton, Director, Office of Pharmacy Affairs to Paul Hudson,
Chief Executive Officer, Sanofi-Aventis U.S. LLC (Dec. 13, 2024) at 1, Eli Lilly v. Kennedy, No.
24-cv-3220 (DLF) (D.D.C. Nov. 14, 2024), Dkt. No. 1-5; Letter from Chantelle V. Britton,
Director, Office of Pharmacy Affairs, HRSA to Linda Kamin, Executive Director, Contract
Operations and Government Reporting, Bristol Myers Squibb (Nov. 4,2024) at 1, Bristol Myers
Squibb v. Kennedy, No. 24-cv-3337 (DLF) (D.D.C. Nov. 26, 2024), Dkt. No. 1-1.
22
    E.g., Letter from Chantelle V. Britton, Director, Office of Pharmacy Affairs, HRSA, to Lucas
Montarce, Executive Vice President and Chief Financial Officer, Eli Lilly and Company (Sept. 18,
2024) at 2-3, Eli Lilly v. Kennedy, No. 24-cv-3220 (DLF) (D.D.C. Nov. 14, 2024), Dkt. No. 1-5;
Letter from Chantelle V. Britton, Director, Office of Pharmacy Affairs to Paul Hudson, Chief
Executive Officer, Sanofi-Aventis U.S. LLC (Dec. 13, 2024) at 2-3, Sanofi v. Kennedy, No. 24-cv-
3496 (DLF) (D.D.C. Dec. 16, 2024), Dkt. No. 1-7; Letter from Chantelle V. Britton, Director,


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        Plaintiffs’ announcement of their rebate models followed on the heels of a similar

announcement by Johnson & Johnson Health Care System (J&J) in August 202423 regarding its

intention to impose a rebate model on two of its most expensive 340B drugs.24 If this Court

determines that the rebate models are lawful, more drug manufacturers will almost certainly

announce their own rebate models, eventually converting the entire 340B Program into a rebate

model, following a similar pattern to four and a half years ago when Lilly announced that it would

restrict the number of pharmacies that 340B Providers could contract with to distribute 340B drugs.

While that restriction was initially limited to a single drug, Lilly subsequently expanded the

limitation to cover all of its 340B drugs, and thirty-eight additional drug companies followed with

similar restrictions.25

        Should the entire 340B Program shift to a rebate model, 340B Providers will be forced to

front significant funds to purchase 340B drugs, significantly hampering 340B Providers’ ability to

continue providing the type of services to low-income patients and communities discussed above.

See Carr Decl. ¶ 18; Desai Decl. ¶ 21. A recent survey conducted by 340B Health of over two

hundred 340B Hospitals found that if the entire 340B Program turned into a rebate model and

340B Hospitals were forced to purchase 340B drugs at their full, up-front prices and then wait—


Office of Pharmacy Affairs, HRSA to Linda Kamin, Executive Director, Contract Operations and
Government Reporting, Bristol Myers Squibb (Nov. 4,2024) at 2-3.
23
   HRSA denied J&J’s proposed rebate model. J&J has also filed suit against HRSA in this
District, and that case is pending in front of Judge Contreras. Case No. 24-cv-3188-RC.
24
    Letter from Perry E. Knight, Vice President, Law – Strategic Customer Group, Johnson &
Johnson, to Rear Admiral Krista M. Pedley, Director, Office of Special Health Initiatives, HRSA,
et al. (July 31, 2024), Johnson & Johnson v. Kennedy, No. 24-cv-3188 (RC) (D.D.C. Nov. 12,
2024), Dkt. No. 1-4.
25
    Drugmakers pulling $8 Billion Out of Safety-Net Hospitals, 340B Health, (July 2023)
https://tinyurl.com/y767zwh7(last accessed Feb. 27, 2025); UPDATED: Drugmakers Cutting
340B Discounts Reported Record Revenues in 2021, 340B Health (Jan. 13, 2023)
https://tinyurl.com/2s48z683 (last accessed Feb. 27, 2025).


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even just a month—to be reimbursed, 90% of those hospitals would be unable to maintain their

current levels of uncompensated care. 90% of responding hospitals also reported the rebate models

would negatively impact access to patient care services for low-income and rural populations.26

           340B Providers will also have to spend funds to comply with the Plaintiffs’ rebate models’

data collection and reporting requirements, requirements which will become more onerous when

more drug manufacturers impose their own, individual rebate models with different requirements.

See Desai Decl. ¶¶ 17, 21; Carr Decl. ¶¶ 17–18. This has been the experience of 340B Hospitals

under manufacturers’ restrictive contract pharmacy policies, which require 340B Hospitals to

collect and report data to a vendor employed by the relevant manufacturer. 340B Health’s survey

found that nearly 75% of the hospitals that have had to collect and submit contract pharmacy claims

data needed to allocate additional resources to address the issues that arose while working with the

vendor.27

           Despite Plaintiffs’ claims that they need greater visibility into the 340B Program, the data

collection and reporting requirements serve other purposes for manufacturers, especially Sanofi.

As Sanofi’s rebate model states, the data uploaded by covered entities will be used, in part, to

“resolve duplicate Medicaid and commercial rebates.”28 However, that purpose is not connected

to any 340B statutory directive. Rather than negotiating more favorable terms for its voluntary

agreements with commercial partners, manufacturers, such as Sanofi, would instead require that




26
   Preliminary Results of 340B Health Survey: Impact of Rebates on 340B Hospitals, 340B
Health (Mar. 18, 2025), https://tinyurl.com/4jj3ukjf at 2.
27
     Id.
28
   Sanofi Notice to Covered Entities (Nov. 22, 2024) at 7, Sanofi v. Kennedy, No. 24-cv-3496
(DLF) (D.D.C. Dec. 16, 2024), Dkt. No. 1-6.


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340B Providers incur the cost of data collection and purchasing 340B drugs at their full price to

assist Sanofi in policing its commercial agreements.

       If a rebate claim is denied, Plaintiffs’ rebate models provide no effective way to challenge

the unilateral decision that the claim is not eligible for the 340B discount. While the 340B statute

allows manufacturers to audit 340B Providers if they suspect that they have received discounts for

unqualified patients or they failed to comply with the mechanism established by the Secretary

pertaining to billing Medicaid for 340B discount drugs, there is no analogous statutory provision

for 340B Providers to audit manufacturers. 42 U.S.C. § 256b(a)(5)(C).29 The only meaningful

recourse that a 340B Provider would have under Plaintiffs’ proposed rebate models would be to

file a claim through the statutorily created ADR process, and to appeal any adverse decision in

federal court. Participation in ADR and the federal court appeals process would likely require

significant delays, the retention of outside counsel and hundreds of thousands of dollars in legal

fees. See Desai Decl. ¶ 18.

       There is even greater cause for concern regarding improper denials under Sanofi’s

proposed rebate model, which it refers to as a “credit model,” because Sanofi plans to apply its

own rules for 340B Hospitals subject to the model to deny rebates for prescriptions that do not

meet Sanofi’s criteria for who qualifies as a 340B “patient.” However, Sanofi’s criteria have not

been published nor authorized by HRSA and differ significantly from HRSA’s 1996 Patient

Definition Guidelines. For example, Sanofi will require that to qualify as a patient, an individual

must have received medical care from the hospital within the past two years; and that the


29
    Manufacturers must meet a fairly low bar in order to audit 340B Providers. A manufacturer
must (1) submit an audit plan to HRSA prior to auditing a 340B Provider; and (2) establish
“reasonable cause” to audit—that is, establishing “that a reasonable person could believe that a
[340B Provider] may have violated a requirement.” Manufacturer Audit Guidelines and Dispute
Resolution Process 0905-ZA-19, 61 Fed. Reg. 65406, 65409 (Dec. 12, 1996).


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prescription was issued “in connection with health care services” provided by the hospital, two

requirements that are not present in HRSA’s 1996 Patient Definition Guidelines.30 This change to

the patient definition could have a large impact on patient care. For example, imagine a scenario

in which an individual who lives in a rural area is diagnosed with cancer, travels to a large urban

hospital several hours away to receive a treatment plan, but wants to implement their treatment

plan and receive the prescribed chemotherapy at a local hospital closer to their home. In that

situation, the prescription was written outside the 340B Hospital, yet there is no question that such

individuals are “patients” of the 340B Hospital when the hospital is administering the

chemotherapy. Under Sanofi’s rebate model, that individual’s prescription for chemotherapy

would not qualify for the 340B discount solely because the initial prescription was not written at

the local hospital.

        Additionally, HRSA’s patient definition guidelines permit prescriptions issued by health

care professionals who are employed by the hospital or provide health care under contractual or

other arrangements (e.g., referral for consultation), such that responsibility for the care provided

remains with the 340B hospital.31 Sanofi’s rebate model will only allow rebates for prescriptions

issued by health professionals who are either employed by a hospital or “similarly affiliated” with

the hospital.32 Sanofi provides no explanation for the difference between “employment” and


30
    Compare Sanofi Notice to Covered Entities (November 22, 2024) at 4-5, Sanofi v. Kennedy,
No. 24-cv-3496 (DLF) (D.D.C. Dec. 16, 2024), Dkt. No. 1-6, with Notice Regarding Section 602
of the Veterans Health Care Act of 1992 Patient and Entity Eligibility, 61 Fed. Reg. 207 (Final
Notice October 24, 1996), https://www.govinfo.gov/content/pkg/FR-1996-10-24/pdf/96-
27344.pdf.
31
    Notice Regarding Section 602 of the Veterans Health Care Act of 1992 Patient and Entity
Eligibility,  61     Fed.    Reg.     207     (Final   Notice     October    24,     1996),
https://www.govinfo.gov/content/pkg/FR-1996-10-24/pdf/96-27344.pdf.
32
   Sanofi Notice to Covered Entities (November 22, 2024) at 4-5, Sanofi v. Kennedy, No. 24-cv-
3496 (DLF) (D.D.C. Dec. 16, 2024), Dkt. No. 1-6.


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“affiliation,” creating uncertainty as to how the patient definition guidelines will be applied.

HRSA’s definition, on the other hand, is clear in that it requires that the hospital to be responsible

for the care the health professional provides. It is generally accepted that hospitals are responsible

for medical services provided on their premises, even if the health professional providing the

services is not an employee but has some other affiliation with the hospital, such as having

privileges at a hospital; however, it is unclear whether that arrangement would satisfy Sanofi’s

policy requirements. Sanofi’s policy is similarly unclear for rebate claims related to referrals and

simply states that Sanofi itself will analyze the claim data to determine if the claim is eligible to

receive the 340B discount.33 It provides no information as to the criteria it will use during that

analysis. These changes to the patient definition are nothing more than Sanofi’s attempt to

unlawfully limit the scope of the 340B Program by reducing the number of prescriptions that will

qualify for the 340B discount price.

           Shortly after HRSA denied their rebate models, Plaintiffs filed their respective suits.

                                         LEGAL STANDARD

           When reviewing agency action under the summary judgment standard, “[t]he district court

sits as an appellate tribunal.” Marshall Cnty. Health Care Auth. v. Shalala, 988 F.2d 1221, 1225

(D.C. Cir. 1993). Because “the reviewing court generally will not resolve factual disputes, but

instead reviews the decision as an appellate court addressing issues of law,” Henry v. Sec’y of

Treasury, 266 F. Supp. 3d 80, 86 (D.D.C. 2017), the court has no role as a fact-finder and treats

the issues presented as questions of law, see, e.g., Pol’y & Rsch., LLC v. United States Dep’t of

Health & Hum. Servs., 313 F. Supp. 3d 62, 74 (D.D.C. 2018); Nat’l Ass’n for Advancement of

Colored People v. DeVos, 485 F. Supp. 3d 136, 141 (D.D.C. 2020).


33
     Id.


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                                             ARGUMENT

I.      340B REQUIRES UP-FRONT PRICE REDUCTIONS, NOT POST-PURCHASE
        REFUNDS.

        A.      The Plain Statutory Language Requires Up-Front Price Reductions.

        By its plain terms, the 340B statute requires up-front price reductions from manufacturers

when 340B Providers purchase covered drugs. The relevant text, 42 U.S.C. § 256b(a)(1), contains

two relevant provisions. The first, known as the “purchased by” provision, Sanofi, 58 F.4th at 699–

700, states that:

                The Secretary shall enter into an agreement with each manufacturer
                of covered outpatient drugs under which the amount required to be
                paid (taking into account any rebate or discount, as provided by the
                Secretary) to the manufacturer for covered outpatient drugs . . .
                purchased by a covered entity . . . does not exceed an amount equal
                to the average manufacturer price for the drug . . . reduced by the
                rebate percentage described in paragraph (2).

42 U.S.C. § 256b(a)(1). The very next sentence of the statute, known as the “shall offer” provision,

Sanofi, 58 F.4th at 703, reads:

                    Each such agreement shall require . . . that the manufacturer offer
                    each covered entity covered outpatient drugs for purchase at or
                    below the applicable ceiling price if such drug is made available to
                    any other purchaser at any price.

42 U.S.C. § 256b(a)(1). Under the statute, “ceiling price” means “the maximum price that covered

entities may permissibly be required to pay for the drug.” Id.

        These two provisions work in tandem to establish the basic function of the 340B statute.

The “purchased by” provision establishes the maximum price that 340B Providers can be asked to

pay for 340B drugs. That price is determined under the 340B statute by reducing a drug’s “average

manufacturer price” (AMP) by the average Medicaid rebate paid by the drug manufacturer to state

Medicaid agencies in the prior quarter. Essentially, to determine the “amount to be paid” under the




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340B discount, the Secretary reduces a drug’s AMP by the Medicaid rebate amount calculated in

the prior quarter.

        The Medicaid rebate amount for each drug and the 340B discount for each drug are

intended to reflect the same percentage reduction. However, because 340B is an up-front discount,

the Medicaid rebate calculation cannot always serve as the basis for the 340B discount. Two

examples of when the Secretary makes adjustments to achieve a 340B discount that is different

from the ceiling price calculation in the 340B statute illustrate the point. The first example pertains

to setting the 340B discount for new drugs, and the second pertains to setting the 340B discount

for drugs for which the Medicaid rebate calculation results in a 340B price of $0 or a negative

number, which may occur due to a statutory penalty designed to limit excessive price increases by

manufacturers.

        Drugs new to the market have no Medicaid “rebate percentage,” as that percentage is

calculated after the drugs have been on the market for a minimum of a calendar quarter. 42 U.S.C.

§ 1396r-8(k)(8). Thus, the Secretary cannot use the formula set out in the 340B statute to determine

the 340B price. Accordingly, the Secretary has issued regulations that establish the 340B price by

taking the drug’s list price and reducing it by the appropriate minimum percentage required under

the Medicaid rebate formula. 42 C.F.R. § 10.10(c); see also 82 Fed. Reg. 1210, 1214–17 (Jan. 5,

2017). This price is temporary until an average manufacturer price can be determined, which could

take several quarters. Id. Thus, in establishing the 340B price for new drugs, the Secretary has

determined “the amount required to be paid,” by using the rebate and discount authority in the

subsection (a)(1) parenthetical which provides the flexibility to make these adjustments in these

circumstances.




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         Similarly, the Secretary has issued a regulation that establishes the 340B price to

accommodate operational challenges when the calculated Medicaid rebate amount is higher than

or equal to the drug’s price, resulting in a negative ceiling price or a ceiling price of zero. 42 C.F.R.

§ 10.10(b). This can occur when manufacturers raise their prices faster than the rate of inflation,

as this action triggers an inflationary penalty in the Medicaid rebate statute that will increase the

rebate amount. 82 Fed. Reg. 1210, 1214–17 (Jan. 5, 2017). If the Secretary followed the 340B

ceiling price calculation in the 340B statute in this scenario, then manufacturers would be required

to forgo payment or pay 340B Providers that use their drug. The Secretary determined that the

340B statute does not require manufacturers to remit payment to 340B Providers and that

permitting zero payment at purchase would “lead to operational challenges,” which do not exist

under the Medicaid rebate structure. 82 Fed. Reg. 1210, 1214–17 (Jan. 5, 2017). Accordingly, the

Secretary adjusted the amount to be paid to $0.01. Id.; 42 C.F.R. § 10.10(b).

         Standing alone, the “purchased by” provision says nothing about how the “amount required

to be paid” is effectuated. Instead, it simply describes how much the manufacturer may charge.

The issue of how the amount required to be paid is effectuated is addressed in the “shall offer”

provision, which was added in 2010 in the Affordable Care Act. The “shall offer” provision

requires that drug manufacturers “offer”— that is, “present for acceptance or rejection,” 34—

covered drugs at or below the ceiling price. The “ceiling price” is “the maximum price that covered

entities may permissibly be required to pay for the drug.” 42 U.S.C. § 256b(a)(1). Drug

manufacturers may not require covered entities to “pay” — “to give money to in return for goods

or services rendered”35— more than this maximum price when it “offer[s] each covered entity


34
    Offer, American Heritage Dictionary, https://bit.ly/4jZThmZ (last accessed Feb. 17, 2025);
Offer, Merriam-Webster, https://bit.ly/42V6kA3 (last accessed Feb. 17, 2025).
35
     Pay, American Heritage Dictionary, https://bit.ly/3X0YIZ6 (last accessed Feb. 17, 2025).


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covered outpatient drugs for purchase.” In other words, the “shall offer” provision means that

manufacturers must provide up-front price reductions that keep covered drugs under the ceiling

price when those drugs are initially purchased by 340B Providers.

       Because manufacturers must offer to sell covered drugs at this maximum ceiling price, any

attempt to sell covered drugs to 340B Providers above this price in the first instance would, by

definition, run afoul of the statutory language. The drugs would be offered for sale above the ceiling

price. Even if manufacturers remitted some amount of payment later, the clear mechanics of the

“shall offer” provision would be thwarted. This ultimately matters because 340B Providers often

operate on tight margins and need the immediate cashflow provided by up-front price reductions.

See supra at p. 7.

       Like any transaction, then, the 340B statute spells out the “what”—covered drugs in

exchange for a statutorily defined amount—and the “how”—manufacturers offering the drugs for

sale to covered entities at an up-front reduced price. As in any transaction, both of these pieces of

information are necessary ingredients to effectuate the ultimate sale of goods. Beyond simply

comporting with common sense and laying out the two fundamental components of the transaction,

this reading of the statute gives effect to all of the words in the statute. See Liu v. Sec. & Exch.

Comm’n, 591 U.S. 71, 89 (2020) (relying on the “cardinal principle of interpretation that courts

must give effect, if possible, to every clause and word of a statute” (quoting Parker Drilling Mgmt.

Servs., Ltd. v. Newton, 587 U.S. 601, 611 (2019))); Donnelly v. F.A.A., 411 F.3d 267, 272 (D.C.

Cir. 2005) (eschewing a reading that “fails to give meaning to every word of the statute”). This is

especially important here, given that Congress added the “shall offer” provision nearly 20 years

after 340B’s initial enactment.




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       Consistent with this statutory language, courts have time and time again recognized that

the statute requires an up-front price reduction rather than a post-transaction refund. The Supreme

Court has explained that “Section 340B of the Public Health Services Act imposes ceilings on

prices drug manufacturers may charge for medications sold to specified health-care facilities.”

Astra, 563 U.S. at 113 (emphases added). Likewise, courts have highlighted that the “shall offer”

provision requires of manufacturers what its plain language demands: that “[i]f drug makers make

drugs available to anyone at any price, they must ‘offer’ those drugs to ‘covered entities’ at a

discount.” Sanofi, 58 F.4th at 703 (emphases added); see also Novartis, 102 F.4th at 460

(interpreting the “shall offer” provision to require “manufacturers to propose to sell covered drugs

to covered entities at or below a specified monetary amount”).

       Though this plain reading shows that up-front price reductions are required by statute,

contrasting this reading with Plaintiffs’ proffered interpretation bolsters the point. Under Plaintiffs’

understanding of the statute, the “purchased by” provision, standing alone, accomplishes all of the

work. That provision, according to Plaintiffs, spells out the what and the how of the 340B

transaction, because the purchased by provision contains both a statutory price (the “what”) and

provides for the means to effectuate the transaction through either a rebate or a discount (the

“how”). This cannot be correct. Under this reading, fully half of 42 U.S.C. § 256b(a)(1) is

superfluous. See United States v. Jicarilla Apache Nation, 564 U.S. 162, 185 (2011) (“As our cases

have noted in the past, we are hesitant to adopt an interpretation of a congressional enactment

which renders superfluous another portion of that same law.” (quoting Mackey v. Lanier Collection

Agency & Service, Inc., 486 U.S. 825, 837 (1988))).

       What is more, Plaintiffs’ reading renders a core section of 42 U.S.C. § 256b(a)(1) that was

enacted later in time surplusage, a double strike against its interpretation. Food & Drug Admin. v.




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Brown & Williamson Tobacco Corp., 529 U.S. 120, 143 (2000) (“The classic judicial task of

reconciling many laws enacted over time, and getting them to make sense in combination,

necessarily assumes that the implications of a statute may be altered by the implications of a later

statute.” (internal quotation marks and citations omitted)). Plaintiffs have offered no interpretation

of the statute that does not render the “shall offer” provision entirely redundant, despite Congress’s

decision that the addition of that provision was necessary nearly 20 years after 340B’s initial

enactment. In fact, Plaintiffs barely even discuss this provision. And it would be especially strange

for a phrase found in a parenthetical to have the force that Plaintiffs believe it has, when the “shall

offer” provision spells out how manufacturers must offer drugs for purchase at the ceiling price.

See Boechler, P.C. v. Comm’r of Internal Revenue, 596 U.S. 199, 206 (2022) (noting that a phrase

“found in a parenthetical . . . is typically used to convey an ‘aside’ or ‘afterthought’”) (quoting B.

Garner, Modern English Usage 1020 (4th ed. 2016))); see also Chickasaw Nation v. United States,

534 U.S. 84, 89 (2001) (“The use of parentheses emphasizes the fact that that which is within is

meant simply to be illustrative, hence redundant.”).

       Contrary to Plaintiffs’ evident views, giving the later-enacted “shall offer” provision its

natural force—requiring an up-front price reduction—does not render the parenthetical language

of the “purchased by” provision meaningless. Nor does the “shall offer” provision implicitly

overrule the “provided by” language. As discussed, the two provisions, which are directly next to

each other in the statutory text, work together in harmony to spell out the specifics of the 340B

transaction.

       Beyond being the only sensible reading of both sentences of § 256b(a)(1), this

understanding of the statute comports with its broader language. It is black-letter law that statutory

interpretations must take into account the statutory context in a way that makes sense of the statute




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as a whole. See Roberts v. Sea-Land Servs., Inc., 566 U.S. 93, 101 (2012) (“Statutory language,

however, ‘cannot be construed in a vacuum. It is a fundamental canon of statutory construction

that the words of a statute must be read in their context and with a view to their place in the overall

statutory scheme.’” (quoting Davis v. Michigan Dept. of Treasury, 489 U.S. 803, 809 (1989)));

King v. Burwell, 576 U.S. 473, 486 (2015) (“Our duty, after all, is to construe statutes, not isolated

provisions.” (internal quotation marks omitted)). Doing so makes clear that the “any rebate or

discount” language goes to the calculation of the 340B price, not how the manufacturers must

effectuate that price. For example, § 256b(a)(1) notes that the “amount required to be paid” is

reduced by a “rebate percentage” which is determined based on the “average total rebate” required

by section 1927(c) of the Social Security Act. 42 U.S.C. § 256b(a)(2)(A). In other words, the rebate

referenced in the statutory text goes into calculating the 340B price, not spelling out how that price

is actually made available to covered entities.

       B.      Rebates are Inconsistent with the Structure of the 340B Statute as a Whole.

       If the plain language in subsection (a)(1) were not enough, the structure of the entire 340B

statute also makes clear that Plaintiffs’ rebate models are not permitted. Take, for example, the

audit and sanction provisions of the statute. With respect to audits, the 340B statute provides that:

               AUDITING—A covered entity shall permit the Secretary and the
               manufacturer of a covered outpatient drug that is subject to an
               agreement under this subsection with the entity . . . to audit at the
               Secretary’s or the manufacturer’s expense the records of the entity
               that directly pertain to the entity’s compliance with the
               requirements [prohibiting duplicate discounts and diversion to non-
               340B patients].

42 U.S.C. § 256b(a)(5)(C) (bolding added). Similarly, the statute states that:

               If the Secretary finds, after audit . . . and after notice and hearing,
               that a covered entity is in violation of a requirement [prohibiting
               duplicate discounts and diversion], the covered entity shall be liable
               to the manufacturer of the covered outpatient drug that is the
               subject of the violation in an amount equal to the reduction in the


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               price of the drug . . . under the agreement between the entity and the
               manufacturer under this paragraph.

Id. § 256b(a)(5)(D) (bolding added). Plaintiffs’ rebate models, which are an end-run around these

provisions, are entirely at odds with the statutory structure for several reasons.

       First, only the Secretary and manufacturers are provided with statutory audit rights. Only

the Secretary and manufacturers have this right to access “the records of the entity that directly

pertain to the entity’s compliance with the” prohibitions on duplicate discounts or rebates and

diversion of covered drugs. This makes sense only when discounts are provided up front. Because

manufacturers must make 340B drugs available to 340B Providers at the ceiling price, the only

way that manufacturers (or the Secretary) can ensure compliance with the statute’s prohibitions is

through auditing 340B Providers after those Providers purchase covered drugs at reduced prices.

This is why manufacturers and the Secretary are afforded the ability to audit, whereas 340B

Providers have no such statutory right. Had Congress intended that a post-purchase refund would

be allowed, Congress would have given 340B Providers the ability to audit manufacturers’ rebate

models and how those models process refund requests. Congress clearly did not do so, and so

Plaintiffs’ proposals would leave 340B Providers helpless to determine whether the drug

manufacturers are complying with the law.

       Plaintiffs’ rebate models render entirely meaningless the audit provision. Plaintiffs insist

that the claims-data requirements in their rebate models are necessary to give teeth to the audit

provision because they need the data to demonstrate that there is cause to audit, but this understates

what a rebate model accomplishes. Through rebate models, drug manufacturers like Plaintiffs will

force 340B Providers to turn over all claim-level data necessary to validate 340B claims. Yet this

type of information is exactly the same information the audit provision contemplates. Congress

gave manufacturers an explicit mechanism to seek this information and to ensure compliance with



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the statute. Plaintiffs’ interpretation thus renders nugatory the audit provision and is an end-run

around the proper procedure. See Util. Air Regul. Grp. v. E.P.A., 573 U.S. 302, 321 (2014)

(explaining, under prior Chevron framework, that “an agency interpretation that is inconsistent

with the design and structure of the statute as a whole does not merit deference” (internal quotation

marks and citation omitted, and alteration adopted)); see also, e.g., Moss by Mutakabbir v. Smith,

794 F. Supp. 11, 13 (D.D.C. 1992) (declining to bless a course of action that “would be a complete

end-run around the procedures established by the statute”); Mapes v. Reed, 487 F. Supp. 3d 20, 25

(D.D.C. 2020) (a litigant “is not permitted to ‘end-run’” statutory procedures when those

procedures provide the proper recourse). At best, the audit provision, like the “shall offer”

provision, is superfluous under Plaintiffs’ incorrect reading of the 340B statute.

        Second, the statutory scheme exhibits a preference against vigilantism and in favor of

empowering the Secretary to conduct audits or to authorize manufacturers to do so. But Plaintiffs’

rebate models, which are precluded by the text and structure of the 340B statute, defeat these goals.

In Astra, the Supreme Court rejected an attempt by covered entities to sue directly under PPAs for

alleged overcharges. 563 U.S. at 116. The Court reasoned that “Congress placed the Secretary

(acting through her designate, HRSA) in control of § 340B’s drug-price prescriptions” and that

allowing 340B Providers to take matters into their own hands would frustrate the statutory scheme.

Id. at 114; see also, id. (“That control could not be maintained were potentially thousands of

covered entities permitted to bring suits alleging errors in manufacturers’ price calculations.”).

Because HRSA is best suited to oversee all aspects of the 340B program and to take appropriate

compliance actions when necessary, Congress “assigned no auxiliary enforcement role to covered

entities.” Id. at 117.




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       That logic applies with equal force here. Congress enacted a statutory scheme through

which manufacturers must offer up-front price reductions on covered drugs to 340B Providers.

When 340B Providers dispute that the proper price was offered to them, they may seek recourse

through the procedures available under the 340B statute. Likewise, when manufacturers believe

that 340B Providers have violated the statute’s prohibition on duplicate discounts or diversion,

manufacturers may audit Providers and seek sanctions through the Secretary. Through the rebate

model, Plaintiffs seek to short-circuit these processes and take matters into their own hands,

imposing their view of compliance. This is plainly at odds with the text and structure of 340B.

       C.      Plaintiffs’ Reading Blesses Absurd Results That Threaten to Undermine the
               340B Statute Altogether.

       “[I]nterpretations of a statute which would produce absurd results are to be avoided if

alternative interpretations consistent with the legislative purpose are available.” Griffin v. Oceanic

Contractors, Inc., 458 U.S. 564, 575 (1982). Yet hiding in plain sight of Plaintiffs’ interpretation

of the statute are a host of absurdities that would follow and would essentially upend the 340B

program. These consequences further demonstrate that the statute does not contemplate a rebate

model and instead requires up-front price reductions.

       As is clear from Plaintiffs’ pleadings and briefings, the form of the rebate models that

Plaintiffs claim is allowed by the 340B statute is entirely decided by Plaintiffs. Most obviously,

Plaintiffs, not HRSA, nor the Secretary, nor Congress, decide when 340B Providers are in fact

given post-purchase refunds following those entities’ submission of whatever information and data

Plaintiffs demand. Plaintiffs, like all other manufacturers seeking to flip the 340B program on its

head, claim that 340B Providers will receive post-purchase refunds promptly, perhaps not more

than a few days after submission of whatever information Plaintiffs require. But nothing

guarantees that this is the case, other than Plaintiffs’ word. On Plaintiffs’ reading of the statute,



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they could evidently give post-purchase refunds a week, or two weeks, or even months after 340B

Providers purchase 340B drugs. What is to stop Plaintiffs from giving post-purchase refunds six

months after 340B Providers make a 340B purchase? Or even years later? Certainly nothing in the

340B statute, as Plaintiffs interpret it, constrains these results. And there is no mechanism in the

340B statute that would allow 340B Providers to demand faster payment of the refunds, because

the statute does not contemplate such post-purchase rebates in the first place. The reason why is

clear: the statute—through the “shall offer” provision—requires up-front discounts at the time of

purchase.

       This statutory silence related to the proposed rebate model is striking in two respects. First,

it contrasts with the statutory evidence that up-front discounts are required by the 340B statute.

This evidence, as discussed, includes the plain text of the “shall offer” provision as well as the fact

that up-front discounts are consistent with the overall statutory structure, and the rebate model is

not. Second, it contrasts with other public health statutes that do in fact allow post-purchase refunds

and rebates. For example, the Medicaid rebate law, which is cross-referenced in 340B, 42 U.S.C.

§ 1396r-8, lays out a multitude of specifics related to the Medicaid Drug Rebate Program. Unlike

the 340B statute, the Medicaid Drug Rebate Program is specific and exacting in how these rebates

must be provided, what information must be exchanged among parties, and myriad other details

for the program to function. Notably, an entire subsection of the statute pertains to “Terms of rebate

agreement[s],” 42 U.S.C. § 1396r-8(b), including that “[s]uch rebate[s] shall be paid by the

manufacturer not later than 30 days after the receipt of the information” required of the state

seeking the rebate. Id. § 1396r-8(b)(1)(A) (emphasis added). If the 340B statute allowed such post-

purchase refunds or rebates, it would include the same information and requirements precisely to

avoid the absurdity that Plaintiffs’ interpretation portends.




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       The lack of any statutorily prescribed guidance related to Plaintiffs’ rebate models also

breeds other absurdities. Given that Plaintiffs would evidently be allowed to give the post-purchase

refunds whenever they want, the enforcement and compliance provisions of the 340B statute lose

all meaning. For example, a 340B Provider cannot feasibly complain that it has not received the

340B price because Plaintiffs, and all other manufacturers, can simply say that they have not yet

given the post-purchase refund. Or a manufacturer can simply declare that it is still parsing the

information that it has demanded from 340B Providers to determine whether the entity is in fact

entitled to the ceiling price. How long this process could last—with absolutely no recourse

available to 340B Providers—is not spelled out by the 340B statute.

       Finally, nothing other than Plaintiffs’ good faith prevent them from demanding all manner

of conditions, information, and data before they provide a post-purchase refund under their rebate

models. Again, a rebate model, unlike a pre-purchase reduction in price, is not in any way

constrained or guided by the statutory text, because it is not contemplated by the text. Even if it

were so contemplated by the text, drug manufacturers time and time again (including in this

litigation) have argued—and courts have found—that HRSA and HHS lack rulemaking authority

under 340B. See, e.g., Pharm. Rsch. & Manufacturers of Am. v. United States Dep’t of Health &

Hum. Servs., 43 F. Supp. 3d 28, 42–43 (D.D.C. 2014). Not only is the rebate model not

contemplated, guided, or constrained by the text, then, but also the very agencies that oversee the

340B Program lack any means to impose restrictions on its implementation and execution. A

model that relies on good faith to function will just as easily be subject to the arbitrariness and

whims of pharmaceutical manufacturers. This is fundamentally at odds with the 340B Program

and the purpose that Congress intended. See Am. Hosp. Ass’n v. Becerra, 596 U.S. 724, 730–31




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(2022) (noting that “Congress . . . actually intended for the 340B program’s drug reimbursements

to subsidize other services provided by 340B hospitals”).

        The 340B statute plainly does not condone these hostage-taking results. Through the non-

statutory rebate model, manufacturers can, and Intervenor Defendants believe likely will, abuse

the 340B Program, which is designed to provide drug discounts to 340B Providers so that the

entities may continue to provide necessary care to vulnerable patient populations. Not only is this

approach misguided as a policy matter: it is barred by the statutory text and structure of 340B.

        D.       Plaintiffs’ Attempts to Obfuscate the Statutory Text Fail.

        Plaintiffs’ resort to mistaken policy arguments, as well as outdated legislative history and

agency guidance, to support its interpretation and to override the plain language of the 340B statute

is unavailing.

        First, just as Plaintiffs evidently overlook the “shall offer” provision in its flawed statutory

interpretation, Plaintiffs rely on legislative history and agency guidance that pre-date the 2010

ACA amendment to the 340B statute that added the very provision that controls the outcome of

this case. Though resorting to legislative history and prior agency guidance would be inappropriate

under any circumstance, here, where the plain text of the 340B statute forecloses Plaintiffs’

argument, outdated, pre-amendment legislative history can have no bearing on this case. See, e.g.,

Eagle Pharms., Inc. v. Azar, 952 F.3d 323, 339 (D.C. Cir. 2020) (“[W]e do not resort to legislative

history to cloud a statutory text that is clear.”).

        Second, in a further effort to distract from the statutory text, Plaintiffs turn to ADAP

rebates, which are not before this Court. As discussed supra at p. 4, ADAPs face unique challenges

that may justify their accessing the benefits of 340B through a rebate, rather than through an up-

front discount. Setting that to the side, HRSA’s guidance related to ADAPs precedes the 2010




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addition of the “shall offer” provision to the 340B statute, so HRSA’s practices related to ADAPs,

like outdated legislative history, offers no insight into the present meaning of the statute.

       Third, Plaintiffs state that the replenishment model is analogous to a rebate mechanism

because both models work after the fact to reconcile transactions made initially at a commercial

price to the 340B discount. But that statement overlooks an essential fact: the price of the drug at

the point of purchase. As described above, under the contract pharmacy replenishment model,

340B Providers are never asked to pay the full price of a drug upfront: they only pay the statutorily

imposed discount price. Testoni Dec. ¶ 10. Under the in-house replenishment model, the 340B

Provider pays market price for a drug one time. Id. ¶ 9. Under Plaintiffs’ proposed rebate models,

340B Providers will always pay full price and then at a later time receive a rebate. Likewise, under

the replenishment model, 340B Providers are not required to provide Plaintiffs with patient data,

essentially giving Plaintiffs the power to conduct front-end audits of 340B Hospitals, without

permission from HRSA and contrary to the statute.

       Fourth, at times, Plaintiffs suggests that Novartis Pharmaceuticals Corp. v. Johnson, 102

F.4th 452 (D.C. Cir. 2024) and Sanofi Aventis U.S. LLC v. United States Department of Health &

Human Services, 58 F.4th 696 (3d Cir. 2023) allow drug manufacturers to impose whatever

conditions they wish on the sale of covered drugs. Not so. These cases, which principally concern

delivery conditions related to covered drugs for contract pharmacies, merely explain that

manufacturers may place certain conditions on the distribution of drugs when the 340B statute is

otherwise silent as to those conditions. Novartis, 102 F.4th at 460, 464.

       Indeed, the D.C. Circuit explicitly noted just how limited its decision was. Id. at 459 (“For

their part, the manufacturers assert a nearly unfettered ability to impose conditions . . . Fortunately,

we need only consider the specific conditions addressed in the enforcement letters under review.”




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(emphasis added)). The D.C. Circuit reasoned that because “Section 340B is . . . silent about

delivery conditions,” the statute “preserves—rather than abrogates—the ability of sellers to impose

at least some delivery conditions” related to contract pharmacies. Id. at 460. Importantly, the D.C.

Circuit explicitly recognized that the 340B statute is not silent with respect to the issue here; when

construing the “shall offer” provision, it explained that “section 340B merely requires

manufacturers to propose to sell covered drugs to covered entities at or below a specified monetary

amount.” Id.; see also Sanofi, 58 F.4th at 703 (stating that the “shall offer” provision requires that

“[i]f drug makers make drugs available to anyone at any price, they must ‘offer’ those drugs to

[340B Providers] at a discount”). If anything, Novartis and Sanofi, through recognizing the force

of the “shall offer” provision, directly support Intervenor Defendants’ arguments.

       Fifth, and perhaps most obviously, Plaintiffs’ briefing betrays the fact that this litigation is

nothing more than a full-frontal attack on the 340B program. These policy-driven points are

disingenuous; indeed, as discussed, the 340B program is meant to stretch scarce healthcare dollars

and subsidize covered entities working with and treating vulnerable populations. To the extent that

Plaintiffs or other drug manufacturers believe that the 340B program fails to achieve this venerable

purpose—which it clearly does not—Plaintiffs’ concerns should be addressed to Congress.

Congress made decisions about the 340B Program through the 340B statute itself—including the

2010 amendment—and Congress alone is responsible for addressing whether the statute is

achieving its goals. Regardless, Plaintiffs’ invocation of a false parade of horribles has nothing to

do whatsoever with the very simple question at the heart of this case: whether the 340B statute

requires up-front price reductions. As discussed above, the answer to that question is

unambiguously yes. Universal Health Servs., Inc. v. United States, 579 U.S. 176, 192 (2016)

(“[P]olicy arguments cannot supersede the clear statutory text.”).




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        E.      Plaintiffs’ Justification for Rebate Models Is Without Merit.

        Plaintiffs’ stated reason for proposing rebate models is to address what they describe as

widespread abuses in the 340B Program and because rebate models are necessary to comply with

the Inflation Reduction Act. Neither reason withstands scrutiny.

        Plaintiffs’ cherry-picked statistics regarding HRSA’s audit findings are nothing more than

a misleading attempt to paint a picture of abuse in a program that has successfully operated for

more than thirty years. For example, Plaintiffs claim that HRSA found that from 2012 to 2019,

HRSA audits revealed over 429 instances of duplicate discounts with the Medicaid Drug Rebate

Program. See e.g., Lilly Mot. for Summ. J. 16, Eli Lilly v. Kennedy, No. 24-cv-3220 (DLF) (D.D.C.

Feb. 3, 2025), Dkt. No. 15-1. But that statistic does not provide evidence of the widespread abuse

that Plaintiffs claim.

        The claimed duplicate discount findings are not evidence that a state tried to collect a

Medicaid rebate on a 340B drug, nor that a manufacturer actually paid a Medicaid rebate on a

340B drug. The 340B statute prohibits covered entities from billing Medicaid for 340B discounted

drugs that are subject to a rebate under the Medicaid Rebate Act. 42 U.S.C. § 256b(a)(5)(A)(i).

The 340B statute also requires the Secretary to establish a mechanism to ensure that covered

entities comply that prohibition. 42 U.S.C. § 256b(a)(5)(A)(ii). These two provisions are intended

to prevent manufacturers from providing the same reduction twice – once when selling the drug at

the 340B discount and again at a later time when invoiced by Medicaid for a rebate on that same

drug. Per that directive, HRSA requires that at registration, 340B Providers state whether they plan

to use 340B drugs for Medicaid Fee-for-Service (FFS) patients36 and, if so, to provide their



36
  As discussed below, the process for preventing duplicate discounts on 340B drugs used for
Medicaid managed care organization (MCO) patients is different.


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Medicaid billing number(s) to be included on the HRSA 340B Medicaid Exclusion File (MEF) so

that states and manufacturers will know that Providers’ drugs are not eligible for a Medicaid

rebate.37 Failure to have the correct numbers on the MEF will be identified as a “duplicate

discount” finding in a HRSA audit.38 HRSA does not contact the State Medicaid agency to verify

whether a manufacturer actually paid a rebate on a 340B drug, or whether the state Medicaid

agency even requested a rebate on that drug.39 If a 340B Provider is able to obtain confirmation

from its state Medicaid agency that the agency had not sought rebates from manufacturers for the

340B Providers’ 340B claims, HRSA will downgrade the audit finding from “duplicate discount”

to “Medicaid Exclusion File Error,” indicating that no manufacturer actually paid a rebate as a

result of the informational error on the MEF, and no repayment is due to manufacturers. Testoni

Decl. ¶ 15.

           In fiscal year 2022, nearly two-thirds of all duplicate discount findings were later

confirmed not to have resulted in duplicate discounts.40 That is likely an underestimate, as many

state Medicaid agencies do not respond to hospital requests on this issue, or do not provide a timely

response. Testoni Decl. ¶ 15. It is not surprising that most MEF information errors do not actually

result in states seeking rebates on 340B drugs, as more than 20 states do not use HRSA’s MEF and

have instead adopted their own policies to identify and remove 340B drugs from their rebate




37
    See Clarification on the Use of Medicaid Exclusion File, HRSA (Dec. 12, 2014),
https://tinyurl.com/ycvupudr.
38
     Id.
39
     Id.
40
    See HRSA Program Integrity, FY 22 Audit Results, HRSA (Oct. 28, 2024),
https://www.hrsa.gov/opa/program-integrity/fy-22-audit-results.


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requests prior to submitting them to manufacturers.41 Plaintiffs’ citations to HRSA audit findings

provide no evidence that Plaintiffs have been asked to pay a Medicaid rebate for a 340B discounted

drug, nor that they have paid such a rebate to a state Medicaid agency.

       Plaintiffs also argue that rebate models would assist manufacturers in preventing duplicate

discounts on 340B drugs used for Medicaid managed care organization (MCO) patients (340B

MCO claims), an area that Plaintiffs correctly assert is not policed by HRSA when it audits 340B

Providers. That is because under federal law, 340B Providers have no role in preventing Medicaid

MCOs from improperly claiming rebates on 340B MCO claims. Instead, pursuant to the Medicaid

statute, the Centers for Medicare & Medicaid Services (CMS) obligates states to exclude 340B

MCO claims from their rebate requests. 42 U.S.C § 1396r-8(j)(1)(A); 42 C.F.R. § 438.3(s)(3).

Though Plaintiffs have not provided any evidence that they have been wrongly invoiced by a state

Medicaid agency for Medicaid rebates relating to 340B MCO claims, their recourse would be to

dispute the rebate with the state Medicaid agency, and they have multiple avenues to do so. For

example, the Medicaid Drug Rebate statute and the Medicaid Drug Rebate Agreement specifically

allow manufacturers to audit and dispute state rebate requests that they believe incorrectly include

340B claims.42 Despite the options available to them under the federal Medicaid law, Plaintiffs




41
    U.S. Gov’t Accountability Off., GAO-20-212, 340B Drug Discount Program: Oversight of the
Intersection with the Medicaid Drug Rebate Program Needs Improvement (Jan. 27, 2020),
Appendix III, https://bit.ly/3ZG0ctH.
42
     See 42 U.S.C. § 1396r-8(b)(2)(B) (providing that manufacturers may audit state Medicaid data
in connection with rebate requests and mandating adjustments if there are discrepancies regarding
utilization amounts). See also, Centers for Medicare and Medicaid Services, Medicaid Drug
Rebate Notice for Participating Drug Manufacturers, (June 29, 2017), https://tinyurl.com/263rs89c
(describing the process for disputing state rebates under the Medicaid National Drug Rebate
Agreement) and https://tinyurl.com/2ma24fh6 (last updated Feb. 24, 2025) (describing the
Medicaid Drug Rebate Dispute Resolution Program).


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would prefer to impose an unlawful 340B rebate model and additional costs on 340B Providers to

help prevent MCO duplicate discounts for which 340B Providers have no responsibility.

        Plaintiffs Lilly, BMS, and Novartis also justified their decisions to adopt a rebate model

based on changes in pharmaceutical pricing made by the Inflation Reduction Act (IRA) that

Congress enacted in 2022 to lower the drug prices paid by Medicare.43 Beginning in 2026 for

Medicare patients, under the IRA Plaintiffs will have to provide the lower of the 340B price or the

maximum fair price (MFP) that they and CMS have negotiated for some of their most expensive

drugs. Even though Plaintiffs would not be required to charge the MFP until 2026, Plaintiffs justify

their rebate plans by claiming that, without the rebate models, Plaintiffs will be unable able to

comply with the non-duplication provision in the IRA, which protects manufacturers from

providing both the 340B price and the MFP refund on the same drug claim.44

        However, a rebate model is not the only way to implement the IRA’s non-duplication

provision; there are other options. As just one example, manufacturers could work with 340B

Providers on limited data sharing arrangements for 340B drugs that are dispensed to Medicare

beneficiaries to ensure that providers will receive either the 340B discount or the MFP if it is lower,

as required by the IRA. This could be done either in advance of or after the MFP refund has been

paid, potentially involving a neutral third party. This and other options have been presented to




43
    See e.g., Lilly Complaint ¶ 12, Eli Lilly v. Kennedy, No. 24-cv-3220 (DLF) (D.D.C. Nov. 14,
2024), Dkt. No. 1; Novartis Complaint ¶ 75, Novartis v. Kennedy, No. 25-cv-117 (DLF) (D.D.C.
Jan. 15, 2025), Dkt. No. 1; BMS Complaint ¶¶ 53–62, Bristol Myers Squibb v. Kennedy, No. 24-
cv-3337 (DLF) (D.D.C. Nov. 26, 2024), Dkt. No. 1).
44
     See id.


                                                  36
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CMS by Intervenor Defendant 340B Health.45 Of course, until this action is resolved, Plaintiffs

have no incentive to work with 340B Providers to address this issue.

       Finally, CMS’s Final Guidance stated that CMS is still considering collecting more data to

address any non-duplication concerns. The final CMS Guidance states


               CMS will not, at this time, assume responsibility for nonduplication
               of discounts. . . . As described above CMS intends to provide Primary
               Manufacturers a process to identify applicable 340B-eligible claims
               through the reporting of claim-level payment elements to the MTF. . .
               . CMS will rely on such indications when determining the extent to
               which the obligation to provide access to MFP has been discharged. .
               . . CMS is exploring the feasibility of incorporating 340B-related
               transactional data from 340B covered entities or their [third party
               administrators] identifying claims eligible [for non duplication].46

Because CMS may still decide to implement a process to gather the information Plaintiffs seek

through their rebate models, Plaintiffs’ overblown complaints about the need for data to avoid

duplicate discounts are premature.

       Sanofi additionally argues that the provision of the 340B statute which authorizes HHS to

develop a mechanism by which “appropriate credits and refunds” are issued to covered entities to

ensure conformity to the applicable ceiling price, 42 U.S.C. § 256b(d)(1)(B)(iv)(II), indicates that

Congress contemplated the use of credits to effectuate the 340B price. That is wrong. This

provision, which was added by the ACA in 2010, appears in the Program Integrity subsection of




45
  340B Health Comment Letter to CMS relating to Medicare Drug Price Negotiation Program
(MDPNP) Draft Guidance, July 2, 2024, https://www.340bhealth.org/files/340B-Health-
Comments-on-5.3.24-IRA-Draft-Guidance-7_.2.24.pdf
46
    Medicare Drug Price Negotiation Program: Draft Guidance, Implementation of Sections 1191
– 1198 of the Social Security Act for Initial Price Applicability Year 2027 and Manufacturer
Effectuation of the Maximum Fair Price (MFP) in 2026 and 2027 (May 3, 2024),
https://tinyurl.com/bnv552ad.




                                                37
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the statute under “Manufacturer Compliance” and relates to the development of a mechanism to

ensure that appropriate credits and refunds are issued to covered entities if rebates and other

discounts provided by manufacturers to other purchasers subsequent to the sale of covered

outpatient drugs to covered entities have the effect of lowering the applicable ceiling price for the

relevant quarter for the drugs involved. 42 U.S.C. § 256b(d)(1)(B)(iv). This provision, like other

provisions in this subsection, was intended to allow manufacturers to provide credits or refunds to

covered entities in the event that the manufacturer overcharged a covered entity for the 340B drug,

and this provision therefore provides no support for the proposition that the 340B statute permits

a rebate model. 47

II.    REQUIRING MANUFACTURERS TO OFFER PRE-PURCHASE PRICE
       REDUCTIONS AS MANDATED BY THE 340B STATUTE DOES NOT VIOLATE
       THE APA.

       A.      Plaintiffs’ APA Arguments Fail with its Incorrect Reading of the 340B
               Statute.

       Plaintiffs’ APA arguments necessarily fail because Plaintiffs’ reading of the 340B statute

is incorrect. As discussed above, the 340B statute leaves no discretion to HRSA or the Secretary

with respect to how the 340B price must be effectuated. The “shall offer” provision requires that

manufacturers offer covered drugs to covered entities prior to the drugs’ sale at a reduced price.

Because of this statutory command, HRSA and HHS merely followed the plain language of the

statute when they denied Plaintiffs’ request to implement their rebate models. HRSA and HHS

exercised no discretion or decision-making because the statute forbids it. A claim under the APA




47
    This interpretation is supported by the legislative history accompanying the bill that was
ultimately included in the ACA. Oversight and Administration of the 340B Drug Discount
Program: Improving Efficiency and Transparency: Hearing before the Subcommittee on Oversight
and Investigations of the Committee on Energy and Commerce, 109th Cong. 47–48 (Dec. 15, 2005),
https://www.congress.gov/109/chrg/CHRG-109hhrg30139/CHRG-109hhrg30139.pdf.


                                                 38
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fails at the outset when the agency acted in a manner required by statute. Rancho Vista del Mar v.

United States, 640 F. Supp. 3d 112, 122 (D.D.C. 2022). When an agency “follow[s] an

unambiguous statutory . . . command, . . . its actions cannot be considered arbitrary or capricious”

because it lacks any decision-making ability. Id.

       That is the case here. Plaintiffs necessarily ask for HRSA to act ultra vires and to allow a

rebate model that it has no discretion to sanction. Because HRSA followed a statutory command

when it denied Plaintiffs’ requests to implement a rebate model, that ends this case. Cf.

Massachusetts v. E.P.A., 549 U.S. 497, 534 (2007). This Court need not and should not examine

HRSA’s decision-making process precisely because there was no decision to be made: Congress,

through the 340B statute and specifically through the “shall offer” provision, mandated that up-

front price reductions, not post-purchase refunds, be the manner through which 340B prices are

effectuated.

       B.      Even if a Rebate Model were Permissible, HRSA’s Actions were not
               Arbitrary or Capricious.

       Assuming that the 340B statute allows HRSA to choose, in its discretion, how 340B prices

are offered to 340B Providers, HRSA exercised its discretion soundly in rejecting Plaintiffs’

attempts to implement their flawed rebate models.

       Under arbitrary-and-capricious review—a “narrow standard”—a court does not “substitute

its judgment for that of the agency” and must “uphold a decision of less than ideal clarity if the

agency’s path may reasonably be discerned.” F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502,

513–14 (2009). In line with this deferential standard, “a court presumes that the agency’s action is

valid.” McDonough v. Mabus, 907 F. Supp. 2d 33, 43 (D.D.C. 2012). “An agency need only

articulate a rational connection between the facts found and the choice made, and the court will

not intervene unless the [agency] failed to consider relevant factors or made a manifest error in



                                                39
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judgment.” United W. Bank v. Off. of Comptroller of Currency, 928 F. Supp. 2d 70, 83 (D.D.C.

2013) (quoting Am. Radio Relay League, Inc. v. F.C.C., 524 F.3d 227, 233 (D.C. Cir. 2008)).

       Applying this “highly deferential” standard, id., HRSA’s explanation for requiring up-front

price reductions over post-purchase refunds reflects reasoned decision-making.48 As discussed

throughout this brief, HRSA understood that the only manner through which the 340B statute can

fulfill its laudable goals of furthering care for vulnerable patient populations is through up-front

price reductions, not post-purchase refunds. HRSA explained to Plaintiffs that a shift to a rebate

model would disrupt over 30 years of practice under which manufactures have provided up-front

discounts, and fundamentally undermine the 340B program because 340B Providers would be

forced to pay higher prices for covered drugs, and asked manufacturers, such as Lilly, to provide

responses to over twenty questions about their proposed rebate models. See supra at p. 12.

       As HRSA recognized, a rebate model improperly empowers drug manufacturers to engage

in self-help and vigilantism, and it prevents 340B Providers from realizing the benefits of the 340B

program—namely, accessing covered drugs at reduced up-front prices.49 These communications

more than reflect a “path [that] may reasonably be discerned,” Fox Television, 556 U.S. at 513-14,

especially in light of the repeated litigation of all aspects of the 340B statute and CMS guidance

pertaining to the interaction between 340B and the IRA. Plaintiffs evidently fault HRSA for not

providing detailed rebuttals to each one of their policy arguments, including, for example, the




48
    It appears that Plaintiffs met with HRSA about their proposed rebate models, where HRSA
may have provided additional justifications for its decision. Intervenor Defendants have no insight
into what was said or discussed at those meetings.
49
   See Letter from Chantelle V. Britton, Director, Office of Pharmacy Affairs to Paul Hudson,
Chief Executive Officer, Sanofi-Aventis U.S. LLC (Dec. 13, 2024), Sanofi v. Kennedy, No. 24-
cv-3496 (DLF) (D.D.C. Dec. 16, 2024), Dkt. No. 1-7.


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decision to allow ADAPs to access the benefits of the 340B program through rebates. But HRSA

has explained why ADAPs are uniquely situated vis-à-vis other covered entities. See supra at p. 4.

       No doubt, HRSA’s explanations for why it requires pre-purchase price reductions rather

than rebates were brief. But the APA does not require HRSA to respond to every tangential point

raised by Plaintiffs, especially when the agency and other HHS entities have already addressed

any potential issues. That is especially true when these issues do not reflect factors that the agency

is required to consider and when the issues raised in fact distort the 340B program. What the APA

requires is “that the agency has acted within a zone of reasonableness and, in particular, has

reasonably considered the relevant issues and reasonably explained the decision.” Fed. Commc’ns

Comm’n v. Prometheus Radio Project, 592 U.S. 414, 423 (2021). That Plaintiffs attempt to drum

up tangential issues did not draw an explicit response from HRSA does not mean that HRSA acted

in a manner that is arbitrary and capricious.

       C.      If the Court Determines that HRSA Acted in an Arbitrary and Capricious
               Manner, the Proper Remedy is to Send the Issue Back to HRSA Without
               Vacating HRSA’s Policy Letters.

       Plaintiffs request wide-ranging relief, including that this Court agree with their statutory

interpretation, allow Plaintiffs to proceed with their rebate models, and that the Court essentially

prevent HRSA from pursuing any enforcement actions or litigation against Plaintiffs in connection

with their rebate models. But Plaintiffs are not entitled to such sweeping relief. Instead, should this

Court determine that HRSA’s decision-making was arbitrary and capricious, all that Plaintiffs are

entitled to is a setting aside of the policy letters and a remand to HRSA to reconsider Plaintiffs’

requests and further explain itself. 5 U.S.C. § 706(2) (empowering a reviewing court to “set aside

agency action, findings, and conclusions”); see also, e.g., St. Lawrence Seaway Pilots Ass’n, Inc.

v. United States Coast Guard, 85 F. Supp. 3d 197, 208 (D.D.C. 2015) (vacating a rule promulgated

in a fashion that was arbitrary and capricious is the “typical remedy”). Any other relief sought by


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Plaintiffs necessarily requires that this Court to adopt an interpretation of the 340B statute that

affirmatively requires HRSA to permit rebate models, which has no basis in the text.

        Moreover, because, as discussed (1) a myriad of reasons support HRSA’s decision to

require up-front price reductions as opposed to post-purchase refunds; and (2) allowing Plaintiffs

to disrupt the 30-years of effectuating the 340B price through discounts will cause immediate harm

and disruption, this Court should leave HRSA’s letters in effect while giving HRSA an opportunity

to further explain its decision-making if it finds that HRSA acted in an unlawful manner. See, e.g.,

Standing Rock Sioux Tribe v. United States Army Corps of Eng’rs, 985 F.3d 1032, 1051 (D.C. Cir.

2021) (“The decision whether to vacate depends on the seriousness of the order’s deficiencies (and

thus the extent of doubt whether the agency chose correctly) and the disruptive consequences of

an interim change that may itself be changed.”); Advocs. for Highway & Auto Safety v. Fed. Motor

Carrier Safety Admin., 429 F.3d 1136, 1151 (D.C. Cir. 2005).

III.    HRSA DID NOT VIOLATE THE CONSTITUTIONAL RIGHTS OF NOVARTIS
        AND BMS

        In a last-ditch effort, Plaintiffs Novartis and BMS argue that HRSA’s failure to permit

Novartis and BMS to implement their proposed rebate models is so irrational and outrageous that

it shocks the conscience, comprising a substantive due-process violation, in light of requirements

BMS and Novartis must comply with under the IRA. However, their attempts to refashion their

arbitrary and capricious claim into a constitutional violation completely miss the mark.50 As


50
    Though BMS attempts to transmogrify its APA challenge into a constitutional one, it
effectively ignores that due process prohibits a much narrower type of government behavior. See,
e.g., Sylvia Dev. Corp. v. Calvert County, 48 F.3d 810, 829 n.7 (4th Cir. 1995) (“[T]o conclude
that every agency decision reversed as ‘arbitrary and capricious’ under state or federal
administrative law rises to the level of a constitutional claim would distort the substantive due
process doctrine. As the courts have consistently recognized, the inquiry into ‘arbitrariness’ under
the Due Process Clause is completely distinct from and far narrower than the inquiry into
‘arbitrariness’ under state or federal administrative law.”).


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discussed at length, HRSA has no authority to permit a rebate model, and therefore its actions are

not arbitrary and capricious. Regardless, for all of the reasons discussed throughout this brief,

HRSA’s actions certainly do not rise to the level of “egregious official conduct” that is “arbitrary

in the constitutional sense.” County of Sacramento v. Lewis, 523 U.S. 833, 846 (1998).51 One need

only review in cursory fashion the class of cases cited by the Supreme Court in Lewis to understand

that the “shock the conscience” standard is, as one might expect, a high threshold to clear. Id. at

846–47 (analyzing cases involving forced pumping of detainee’s stomach, among other facts).

HRSA’s conduct here does not remotely approach this threshold for all of the reasons discussed in

this brief, let alone represent the sort of “conduct intended to injure in some way unjustifiable by

any government interest.” Id. at 849.52

        In any event, Novartis and BMS lack standing to bring this constitutional challenge and

their challenge is not yet ripe. Participation in the IRA negotiated-price program has not yet begun,

and, as discussed supra at p. 38, final CMS Guidance stated that that it is still considering collecting

more data to address any deduplication concerns.53 Therefore, the Court should decline to review

this hypothetical bind until “the agency’s policies have crystallized through the application of the

policy to particular facts.” Nat’l Min. Ass’n v. Fowler, 324 F.3d 752, 757 (D.C. Cir. 2003).


51
    As with Plaintiffs’ APA challenges, the only relief Novartis and BMS would be entitled to with
respect to their constitutional arguments would be vacatur. But that alone reveals the weakness of
the constitutional challenge. Indeed, if accepted, Novartis and BMS’s arguments would require the
use of a rebate model under 340B, which is plainly incorrect.
52
   Put simply, Novartis and BMS’s cited authority—which stand for nothing more than that the
government may not act in an intentionally malicious or entirely arbitrary fashion—only
undermines their due-process theory, which would elevate any APA challenge to a constitutional
dimension.
53
    Medicare Drug Price Negotiation Program: Draft Guidance, Implementation of Sections 1191
– 1198 of the Social Security Act for Initial Price Applicability Year 2027 and Manufacturer
Effectuation of the Maximum Fair Price (MFP) in 2026 and 2027, (May 3, 2024)
https://tinyurl.com/bnv552ad.


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Furthermore, “respect for the separation of powers counsels restraint” when a litigant challenges

an alleged conflict between two statutory schemes. See Epic Sys. Corp. v. Lewis, 584 U.S. 497,

511 (2018) (“Respect for Congress as drafter counsels against too easily finding irreconcilable

conflicts in its work.”); see also TransUnion LLC v. Ramirez, 594 U.S. 413, 423–24, (2021)

(“Under Article III, federal courts do not adjudicate hypothetical or abstract disputes.”).

       Novartis also argues that HRSA has violated its procedural due process rights under

Mathews v. Eldridge, 424 U.S. 319 (1976), which examined whether an individual was entitled to

an evidentiary hearing before their social security benefits were terminated, because Novartis will

now have to comply with both the IRA’s Drug Price Negotiation Program and the 340B Program.

However, Novartis’ drugs are subject to the IRA and the 340B Program because of actions taken

by Congress, not HRSA. Assuming Novartis has even raised a property interest, Novartis’s

procedural due process claim fails for the simple reason that the 340B statute and the IRA, as

described throughout this brief, provide various statutory safeguards and processes that permit

manufacturers to seek recourse should they believe their rights have been violated under the

statute. Finally, contrary to Novartis’s assertions and for all of the reasons described supra, the

public interest is best served by HRSA’s denial of the proposed rebate model, as Novartis’s

proposed rebate model would cause harm to 340B Hospitals, including UMass and Genesis, that

are providing invaluable resources to vulnerable patients and communities across the country.

       In any event, the remedy for a procedural due process claim is just what it sounds like: the

provision of process. Yet Novartis appears to request vacatur of HRSA’s actions, which does not

match any potential (and indeed, hypothetical) violation of procedural due process. Novartis’s

procedural due process argument, like its substantive due process argument, amounts to little more

than a disagreement with Congress’s decision to impose price concessions on major drug




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manufacturers. Novartis’s kitchen-sink approach merely reflects the same repeated arguments in

different clothing, and this Court should reject these constitutional challenges for all of the reasons

discussed throughout this brief.

                                          CONCLUSION

       For the foregoing reasons, Intervenor Defendants respectfully request that this Court grant

Intervenor Defendants’ Cross Motion for Summary Judgment and deny Plaintiffs’ Motions for

Summary Judgment.

Dated: March 18, 2025

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                                    CERTIFICATE OF SERVICE

       I certify that on March 18, 2025, I filed the foregoing with the Clerk of the Court using the

ECF System, which will send notification of such filing to the registered participants identified on

the Notice of Electronic Filing.



                                                                  William B. Schultz




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